Case 19-13121-KHK   Doc 38-3 Filed 10/23/19 Entered 10/24/19 00:00:43   Desc
                       Exhibit(s) Exhibit 3 Page 1 of 1



      Statement of Account for Bluepoint Medical Associates


     There was a payment agreement for arrearages, for which Bluepoint
complied until the end of April, 2019. They paid through April 19, 2019 as
agreed, but only paid $1,450 on April 26, 2019, leaving $1,050 owed for the
payment due date of April 26th. Therefore there is owed:
4/26 $1,050
5/3    $3,500
5/10 $3,500
5/17 $3,500
5/24 $3,500
5/31 $1,536.95
6/1    $6,200
7/1    $6,200
8/1    $6,946.95
9/1    $6,946.95
TOTAL: $42,880.85
